In this case the Committee on Professional Ethics and Grievances of the Louisiana State Bar Association instituted proceedings to disbar the defendant, Mary H. Connolly, under Section 9 of Rule XVIII of the Supreme Court, as they did in the Leche case, La.Sup., 9 So.2d 566,1 being handed down today, without alleging any act of misconduct on the part of the defendant other than the fact that she had been convicted of evading the payment of income taxes on a plea of nolo contendere, as evidenced by the attached judgment, which judgment shows the jail sentence was suspended upon the payment of the fines levied against her and half of the costs of prosecution. *Page 398 
For the reasons assigned in my dissenting opinion in the Leche case, I therefore respectfully dissent from the majority opinion in this case.
1 201 La. 293.